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Frederick Palumbo
700 Front Street #15_08
San Diego, Ca. 92101
(619)306-9788
3
PLAINTIFF
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF CALIFORNIA
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Case N0:37-2013-003 09734-SC-SC-CTL
Frederiek Palumbo ;
8 Honorable
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11 Pla‘““ff CoMPLAINT FoR DAMAGES,
12 INJUNCTIVE & DELARATORY
RELIEF AN]) AN ACCOUNTING FOR
13 VIOLATIONS OF THE FAIR DEB'I`
14 COLLECTION PRACTICES AC'I`
15 (FDCPA)(CFDCPA)
16 vs.
TRIAL DATE: None Set
Portfoiio Recovery Associates, LLC
19 Defendant
20 Plaintiff PALUMBO hereby Complains to Defendant PORTFOLIO RECOVERY
ASSOCIATES, LLC,(PORTFOLIO) and hereby alleges as follows
21
22
23 GENERAL ALLEGATIONS
24 COMMON CAUSES TO ALL CAUSES OF ACTION
25 l. Plaintiff Palumbo was at all times an individual , who maintains a principle place of
residence within the County and Judicial District of this Cou;rt.
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CROSS COMPLAIN'I` OF ALLEGED DEFENDANT-CROS S-COMPLAINANT

 

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2. Defendant (PORTFOLI()) is at all times stated herein, was a limited liability

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company, organized under the laws of the State of Delaware and unqualified to do business in
the state of Califcrnia.

Plaintiff is a consumer within the meaning of the Consumer Legal Remedies Act.

Plaintiff is informed and believes and therefore alleges that Defendant

regularly uses the United States mail in the regular collection

of debts owed to another and attempts to collect debts and is a debt collector as defined by

the Federal Debt Collection Practices (FDCPA) and the Califomia Fair Debt Colleetion
Practices Act (CFDCPA).

JURISDICTION
Venue for the within action is properly within the jurisdiction of this Court upon the ground,

inter alia, that the Defendant does business within this J udicial District of the County of

County of San Diego and State of California,

FACTS

Plaintiff seeks damages from defendant for its unlawful practices and for an

accounting to resolve the rights and responsibilities under the facts as stated herein

P 1 ain ti ff is informed and believes and therefore alleges that:

Plaintiff does not have a contract with Defendant

That collection of any alleged debt after having been written offer charged off would be a case

of unjust enrichment, and/or fraud on the consumer and/or fraud on the court.
That the alleged credit card issued to Plaintiff remains the

 

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property of the original card issuer.

D. that ANY/ALL documents filed by Defendant, that are ultimately filed
onthe records in this instant and authenticated by SIMMONDS &
NARJ'I`A LLP, attorneys for defendant

are inadmissible,thatthese records cannot pass the hearsay exception test,
therefore, are not business records
E. That Defendant is not the real party in interest in this proceeding and has no

remaining equity in the original Application or Agreement due to insurance
settlements or charge-cffs.

F. That it is the practice of ORIGINAL CREDITOR to charge-off and sell
evidence of

l debtednes (after collecting insurance), thus the Worthless commercial paper
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duty between the assignor and assignee becomes legally uncollectible

. That Defendant arbitrarily selected Plaintii`f to

be responsible for this alleged debt despite not having a legal right to do so.

. That Defendant has violated Plaintifi`s Fair Debt Credit Protection Act (FDCPA)

(CFDCPA with respect to this alleged debt.

. That the original creditor does not have a contract With Plaintiff.

. That Plaintiff has always objected to any amount due and is

unaware of any demands that the alleged debt was to be paid in full. That Plaintiff
specifically denies any allegations referencing the existence cfa contract and/ or

debt owed to Defendant, and
Plaintiff denies that the amount

claimed by Defendant is fixed and agreed to by Plaintiff

 

CROSS COMPLAIN'I`OF ALLEGED DEFENDANT-CROSS-COMPLAINANT

 

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and demands strict proof and an accounting

8. Plaintif`f` is informed and believes and therefore alleges that the purported

contractor agreement falls within a class of contracts or agreements required to be in writing

The purported contractor agreement alleged by Def`endant was not in writing and signed by
Plaint:iff or by_ some other fperson authorized by Plaintif`f` and Who was to answer for the debt,
default, or miscarriage o another person.

9. The Piaintif`f` is informed and believes and therefore alleges that there is no evidence

Of` any purported assignment was bona fide. There is no evidence of valuable consideration and

no evidence that the purported assignor is even aware of this action or has conveyed all rights

and control to Defendant.

10. That the first time Plaintiff ever heard of these false claims by

defendant was when he was served notice by telephone

ll. That on 9/28/2010, 2/1/2012 and 5/30/2013 Plaintiff` sent, by first class US Mail Cease and

Desist letters to Def`endant located at Riverside Cornmerce Center, 140 Corporate Blvd.,
Norfolk, Va 23502. (Attached hereto and made a part
hereof as Exhibits A, B, and C the Cease and Desist letters)

12. To the best of Plaintiff’s knowledge and belief, Defendant has used the mails of`

the United States to attempt to collect from an alleged debt purportedly previously
owed to an “original creditor,” other than Def`endant, which has purportedly

 

CROSS COMPLAINT OF ALLEGED DEFENDANT-CROSS-COMPLA [NANT

 

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been “charged off`.”
D e fe n d a nt has violated the Fair Debt Collection Practices Act, 15 U.S.C.

§ l692e, and the Califomia Fair Debt Collection Practices Act because it made and/or employed
false, deceptive and misleading representations

and/or means in connection with the instant cause of action. Said false, deceptive and

misleading representations were and have been made and are being made to Plaintiff and

others as more specifically set out hereafter. Some or all said false, deceptive and

misleading representations were knowingly and intentionally made by Defendant,

Defendant has violated the Fair Debt Collection Practices Act, 15 U.S.C.

§1692d and the CFDCP Act because it has enga ed in conduct the natural consequence of
which is to harass, oppress, or abuse the Plainti in connection with the instant Cause ,
and as a result of telephonic communications subsequent to having received notice of
Plaintiff’s Cease and Desist letters, and in other actions as more specifically set out hereafter.
Defendant knowingly and intentionall engaged in harassing, oppressive, and/or

abusive conduct toward the Plaintiff`. efendant knew or should have known

that the natural consequences of said conduct would be to harass, oppress, or abuse the
Plaintiff` in violation of the FDCP Act 15 USC 1692 (c) and the CFDCPA by failing and
refusing to cease and desist contact with Plaintif`f`.

.15. Defendant has represented to Plaintiff` that it has the legal right to collect the

sums sought in an amount according to proof at trial and court costs. Defendant does

not in fact have the legal right to collect the sums claimed from Plaintiff, or any other
amount,

and knew or should have known same when it contacted Plaintiff` subsequent to receiving
Plaintiff’s Cease and Desist letters

16. Upon information and belief, Defendant does not have the legal right to collect

this sum because no sum is owed by Plaintiff, and/or any party

 

CROSS COMPLAIN'I` OF ALLEGED DEFENDANT-CROSS-COMPLAINANT

 

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under whom Defendant is claiming to hold an assignment, and further, no valid
assignment to Defendant exists Although Defendant’s legally

does not expressly allege same, on knowledge and belief Plaintiff believes Defendant is
claiming to hold the alleged debt sued on by assignment from another entity. By

falsely representing that there exists a pro er and legally valid assignment between Defendant
and the original creditor of the account, i Defendant is so

representing and that Defendant has a right of recovery against Plaintiff thereon,
and by threatening a lawsuit against Plaintiff allegedly thereon, Defendant has

violated the FDCPA and the CFDCPA, and is liable to Plaintiff for statutory and actual
damages thereon,

attorneys’ fees, and costs. Said violations include, but are not limited to violations of 15
U.S.C. §1692e, et seq. and 15 U.S.C. §l692d, et seq.
Defendant has made knowing and intentional misrepresentations or misleading

and/or false representations as to the legal status, character, and/or amount of the debt in

violation of 15 U.S.C. §1692e(2), and in violation of U.S.C. l 5 §l692e(10).
To the best of Plaintiffs ’s knowledge and belief, at the time of filing the instant lawsuit,

Defendant did not have in its possession, and is unable to acquire or produce,

the entire “Purchase Agreement” (or other similar name) pursuant to which it claims to have

purchased the said purported “accoun ” of Plaintiff on which it bases it claims for relief upon.

Defendant will only produce, and will only be able to produce, a “Bill of Sale,” “Bill

of Sale and Assignrnent,” or other document having a similar name, which will make no

specific reference to Plaintiff or any “account” allegedly owed by Plaintiff , and will

on its face be an incomplete document, explicitly and specifically making reference to

 

CROSS COMPLA[NTOF ALLEGED DEFBNDANT-CROSS-COMPLAINANT

 

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another “master agreement”, consisting of the above “Purchase Agreement” or other
document having a similar name, to which the said “Bill of Sale” is made subject to, and the

terms of which control and govern the said “Bill of Sale.” The production of an authenticated

“master agreement” or “Purchase Agreement” as described above is necessary, inter alia, for

Defendant to be able to make a claim against Plaintiff herein At the time of

filing the instant lawsuit Defendant was aware, or should be aware, of the above.
Thus, for this reason also, Defendant has knowingly and intentionally made these claims
against Plaintiff under circumstances in which it knows or should have known that it would be

Unable to prevail in its claim against Plaintiff herein. The above constitutes violations by
Defendant of 15 U.S.C. §1692d, 15 U.S.C. §1692e, and 15 U.S.C.l$ §1692£

19. By making these claims and threatening litigation, Defendant made the false, knowing and

intentional representation to Plaintiff and all other persons having or acquiring
knowledge

of claims of Defendant against Plaintiff, and said claims, including credit

reporting bureaus, and persons or entities Plaintiff might seek to obtain credit from, present

or future potential employers of Plaintiff, and other persons and entities that it has the legal
right to make these claims against Plaintiff, in this Court. By making such claims against

Plaintiff, Defendant

has made false, knowing and intentionally deceptive and/or misleading

representations to the general public, creditors of Plaintiff, persons or entities

might seek to obtain credit from, present or future potential employers of Plaintiff, and

others with respect to said account, all of which constitute violations of the Federal Fair Debt

Collections Practices Act and the California Fair Debt Collection Practices Act,

20. Some or all of Plaintifl"s claims are based on the following facts:

 

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(2) the correct amount (if` any) which it is claimed is owed by Plaintiff.
(e) After acquiring the block of accounts, either Defendant or some predecessor

party processed the block of accounts through a computer software algorithm “scrubbing”
program, designed to select specific “accounts” to file suit on, or otherwise attempt to collect
(f) Said scrubbing program was optimized to rank said accounts according to two primary
criteria, in the following order of importance:

(l) Those “account debtors” LEAST LIKELY to obtain legal representation to defend a

lawsuit, or otherwise resist collection efforts, without reference to the validity or accuracy of
said debt. As example, said software programs normally rank individuals of the female
gender; persons believed to have low income levels; and!or lower than normal education

levels as being less likely to obtain legal representation or otherwise resist collection,

(2) Those “account debtors” from whom collection might be more easily made, i.e., having
employment from which wages could be garnisheed, or those having bank accounts, or
owning vehicles or other property which could be seized, without reference to the validity or
accuracy of said debt.

(g) The above described computer software “scrubbing program” contains no software

criteria, software routines, or subprograms to determine the validity of said “debt”, and no

software criteria, software routines, or subprograms to determine the accuracy or validity of
the amounts claimed to be owed.

(h) Said software program and “scrubbing” procedure was used to determine which account

debtors would be sued.

22. The Plaintiff is informed and believes and therefore alleges that the false claims

 

CROSS COMPLAIN’I' OF ALLEGED DEFENDANT-CROSS-COMPLAINANT

 

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of debt owed by Plaintiff to Defendant and Defendants

failure to demand said sums or to validate said debt prior to threatening their lawsuit places the

Defendant in violation of the following:

FIRST CAUSE GF ACTION
amounting

Plaintiff repeats and realleges and incorporates by reference the allegations of

|,-.\

paragraphs 1-22.
2. Defendant has purportedly held themselves out to be Plaintiffs

assigned creditor. As a result of this purported relationship with Plaintiff, said

Defendant has a duty to Plaintiff to properly account for monies owed or
payments made by Plaintiff.
3. The amount of money paid or claimed still owed to Defendant is unknown to Plaintiff

and cannot be determined without an accounting

§§

Defendant should be ordered to provide written accounting of all sums

allegedly due under the terms of the alleged original written contract (if any), an explanation

of each amount doe, and an accounting of all sums allegedly paid from Defendant

to the ORIGINAL CREDITOR for the alleged assignment of the alleged debt.

SECOND CAUSE OF AC ! ION
FEDERAL FAIR DEBT COLLEC I:ION PRACTICES ACT §EDCPA 1, ISUSC 1692

5. Plaintiff repeats and realleges and incorporates by reference the allegations of

paragraphs 1-26

 

CROSS COMPLAINT OF ALLEGED DEFENDANT-CROSS-COMPLA!NANT

 

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(a) The alleged “debt” or “account” on which Defendant is basing its claim of
right to threaten litigation was acquired by Defendant, or some predecessor party, at

auction, or by some other method of acquisition, from a bank or other financial institution, in
blocks of said “accounts” as large as 5,000, 10,000, 15,000, 20,000, and/or 25,000 or more in
a single transaction

(b) ln said auction, Defendant, or some predecessor party, bid on the block of

“accounts” in which the “accoun ” allegedly owed by Plaintiff was included, or acquired

said account along with a large quantity of other accounts by some other means
~ (c) At the said auction, or by some other method of acquisition, when either Defendant
‘ or some predecessor party acquired the block or group of “accounts”

which included the “accoun ” allegedly owed by Piaintifi`, no actual hard copies, or indeed

any records in any form whatsoever of any of the following were acquired, or transferred

from the bank or other financial institution to Defendant or the predecessor

party with respect to the foll_owing:

(l) any credit card or other agreement, or contract with respect to the specific alleged

“account” of Plaintifl’ s individually;

(2) monthly statements of account, records of charges, payments, interest, fees, or similar
records or documents necessary to verify and prove that the said “account” is in fact owed by
Plaintiff, and;

(3) the correct total amount actually owed, if any, by Plaintiff; and

(4) any accounting or financial records, including the above records, necessary to prove the

breakdown of the purported “total” amount alleged to be owed, With respect to its

 

CROSS COMPLAINT OF ALLEGED DEFENDANT-CROSS-COMPLA]NANT

 

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components, such as principal, interest, late fees, over limit fees, etc.
Some or all of Plaintiff’s allegations are further based on the following facts:

(a) At the said auction, or by some other method of acquisition, the information transferred

between buyers and sellers of accounts (purportedly including the instant account allegedly

owed by Plaintiff and referred to herein) consisted solely of a “line entry” in digital or

electronic format containing, at most, only a name, address, social security number, account

number, telephone number, and a “total” dollar amount, without breakdown, and possibly
some other very minimal information such as the alleged “charge~off’ date.

(b) Said “total” dollar amount was not broken down into principal, interest, fees, late charges,
or in any other manner. To the best of Plaintiff’s knowledge and belief this was the method

by which the data regarding Plaintiff s alleged debt was transferred from a third party to
Defendant or some predecessor party to Defendant

(c) At the time of asserting its claims against Plaintitf, Defendant did not have in its

possession records or documents sufficient to prove the necessary elements of its purported

claim against Plaintiff, and will not acquire said records or documents, if ever, until after

the filing and service of Defendant’s instant Answer to the complaint herein. At the time of
asserting

its claims against Plaintiif, Defendant was aware or should be aware that it did not have

in its possession records or documents sufficient to prove the necessary elements of its

purported claim against Plaintiff, and further that it will not be able to acquire same.
(d) Further, Defendant has made no effort to verify or substantiate either:

( 1) the documentation necessary to prove that Plaintiff in fact currently owes a debt of

some amount which it is supposedly acquiring; and

 

CROSS COMPLAlNT OF ALLEGED DEFENDANT-CROSS-COMPLAINANT

 

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1 6. Defendant conduct was negligent or willful or both, rendering it liable for attempting
2 to collect fees, interest, and expenses from Plaintiff that are not authorized by any
3 agreement or permitted by law, in violation of 1692 f (l).
4 7. Defendant conduct was negligent or willful or both, rendering it liable for failing to
cease and desist notwithstanding Plaintiffs demand for same and collection of an alleged
debt and not providing proper verification of the debt to the Plaintiff prior to causing
i
Plaintiff to initiate a lawsuit, in violation of 1692 g (b).
7 8. As a result of the foregoing violations, Defendant is liable for actual damages,
8 including general damages and special damages in an amount to be proven at trial, but not
10
less than $2,000 per Plaintiff, pursuant to 15 USC 1692(k) a 1.
ll
12 9. As a result of the foregoing violations, Defendant is liable for actual damages,
13 including general damages and special damages in an amount to be proven at trial, but not
14 less than $1,000 per Plaintiff, pursuant to 15 USC l692(k) a 2 a.
1 g 10. As a result of the foregoing violations, Defendant is liable for costs and reasonable
attorney’s fees pursuant to 15 USC 1692(k) a 3.
17
18 11. As a result ofthe foregoing violations, Defendant should be enjoined from employing
19 any of the unlawful conduct, methods, acts, or practices under the FDCPA alleged herein or
20 proven at trial.
21
12. An actual controversy has arisen and now exists between Plaintiff and
22
23 defendant concerning their respective rights and duties under the FDCPA. A judicial
24 declaration pursuant to Code of Civ. Procedure 1060 that defendants actions violated
25 the FDCPA is necessary so that all parties may ascertain their rights and duties under the law.
26 13. Based on the allegations above and further set forth herein, Defendant has
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CROSS COMPLAIN'I` OF ALLEGED DEFENDANT-CROSS-COMPLAlNANT

 

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violated 15 U.S.C. §1692d by engaging in conduct the natural consequence of which is to
harass, oppress, or abuse Plaintiff by, without limitation; Continuing to pursue collection

of disputed, unverified and invalid debt; forcing Plaintiff to initiate litigation to

defend against an invalid action, and further, and in addition thereto, knew or should have

known that it has engaged in such conduct, and the said consequences thereof.

Upon information and belief, Defendant has communicated credit information

to persons, including but not limited to credit reporting bureaus or agencies, with respect to
Plaintiff, which it knew or should have known to be false - including without limitation
allegations that Plaintiff owed the purported debt which is the subject of this action, and/or
that Plaintiff owes said debt to Defendant and/or that Defendant

is the original creditor of said alleged debt.

Upon information and belief, Defendant has, in violation of 15 U.S.C.

§l692e(8) failed to communicate to Plaintiff, other persons and entities, including credit
bureaus, and persons yet to be determined, that Plaintiff disputes the alleged debt.

By falsely representing that Defendant is either an assignee of an original
creditor, and/or that said assignment constitutes a proper, competent, or valid assignment

between Defendant and the original creditor of any alleged debt by any alleged

original creditor to Defendant, and/or that Defendant is the

original creditor, Defendant has made material, false and misleading

representations, and has further communicated to Plaintiff and other persons credit

information which is known or which should be known to be false, including the above, the

failure to communicate that a disputed debt is disputed, the “re-aging” of said debt, the false

 

CROSS COMPLAENTOF ALLEGED DEFENDANT-CROSS-COMPLAINANT

 

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Dated: January 6,2014

That Defendant takes nothing by way of their claims against Plaintiff;

That Plaintiff recover costs, and reasonable attorney fees, if incurred;

That Defendant be required to specifically prove all allegations in this action;

That Defendant be required to produce an Accounting of all sums allegedly due under
the alleged breach of contract and account stated claims; and an accounting of all
consideration allegedly paid from Defendant to the ORIGINAL CREDITOR
according to proof at trial

For general damages and special damages in an amount to be proven at trial, but not

less than $2,000 per Plaintiff, pursuant to 15 USC l692(k) a 1.

For actual damages, including general damages and special damages in an amount to
be proven at trial, but not less than $1,000 per Plaintiff, pursuant to 15 USC 1692(k) a

2 a.
For costs and reasonable attorney’s fees pursuant to 15 USC l692(k) a 3.

For a judicial declaration pursuant to Code of Civ. Procedure 1060 that
defendants actions violated the FDCPA.

And for such other and further relief as the Court may deem just, equitable and

 

 

 

CROSS COMPLAINT OF ALLEGED DEFENDANT-CROSS~COMPLA INANT

 

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PROOF OF SERVICE BY MAIL

I, the undersigned, hereby declare: I am over the age of 18 and not a party to the within action; my

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mailing address is: Reiss Hotel, 1432 1‘it Avenue Suite202, San Diego, California 92101

on ranqu 9, 2014 1servedthefcresoinsdo°umemd°$°“bed a§ f ,WM J/’/M»r
; ~ gj,,,j/WMZZ'AM raw ¢@Mf M

pnninterested arties in this action by placing the true copies thereof enclosed in sealed envelopes addressed as
o ows:

 

PORTFOLIO RECOVERY ASSOCIATES, LLC located at RIVERSIDE COMMERCE CENTER, 140

CORPORATE BLVD., NORI*`OLK, VIRGINIA 23502

TOMIO B. NARITA OF SIMMONDS & NARITA LLP located at 44 MONTGOMERY STREET, SUI'I`E3010
SAN FRANSCICO, CA. 94104- 4816

VIA:
13 |x l MAIL I am "readily familiar" with the practice of collection and processing correspondence for
mailing Under that practice it would be deposited with U. S postal service on that same
14 day with postage thereon fully prepaid at place of business, m the ordinary course of
15 business. l am aware that on motion of the party served, service is presumed invalid if postal
cancellation date or postage meter date rs more than one day after date of deposit for mailing
16 in affidavit

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mGREGORY IM R January 9, 2014

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